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Dear Sir or Madam,

December 30, 2019

United States Bankruptcy a= & ON
Court for the District of Columbia Seo 2 =
Ce _ &
Pachulski Stang Ziehl & Jones LLP cS Be a
Andrew W. Caine S&S Fo
Bradford J Sandler 3 SF

Colin R. Robinson

Case 19-51050-BLS

Hello, my name is Christopher M. Soulier and the purpose of this letter
is to respond in the very best I know how. I am writing on behalf of

myself and without legal representation because I do not have the
means to do so through a legal firm.

First, I would like state that I am a victim in this case. ] was approached
by a late friend of mine, Pete Viater, a retired bank president with a
stellar reputation about the company Woodbridge as an alternative
investment for my self-direct Roth IRA in early 2016. I trusted my friend
as a professional and after he presented me with information about the
company and the process, I decided to direct my funds from my IRA to
Woodbridge through the Provident Trust Group. I was having a very
good experience with the company and as promised, I was receiving
interest payments from my investment on time and monthly.

I was later approached by the company and Pete Viater about becoming
an affiliate. After my concerns were addressed by Woodbridge and Pete
Viater in regards to not needing to have a securities license to be an
affiliate and after continuing to have a good experience with the product
and the service, I agreed to share Woodbridge with some of my friends
and family. This was not part of my business model and I was not a

financial advisor in any capacity. I feel misled and was taken advantage
of for my reputation in the community and my relationships.

 
 

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When [ had found out that Woodbridge had filed for bankruptcy, I was
very upset, as not only did I lose my entire Roth IRA, but my friends and
family lost theirs as well. As time has since passed with this case, I was
shocked to have found out what was happening internally with
Woodbridge of Companies. At no time did I have any knowledge of what
was happening.

In closing, I would like to ask that I be relieved of any financial liabilities
with regards to this case and any future liability. I have lost all of what I
had in my Roth IRA (my only retirement) and have to look at friends
and family that have lost money as well. I have also lost an important
role in my Native Community, where I served as a board member of our
tribes business development corporation for five years. Although my
reputation has sustained, I have lost the opportunity to serve the
community in economic development where I was raised.

Sincerely,

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Christopher M. Soulier

 
